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1
                                 UNITED STATES DISTRICT COURT
2
                                      DISTRICT OF NEVADA
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      RAUL GONZALES,                                 Case No. 2:21-cv-02055-GMN-DJA
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             Petitioner,
6                                                    SCHEDULING ORDER
             v.
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8     CALVIN JOHNSON, et al.,
9            Respondents.
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12          In this habeas corpus action, on November 17, 2021, the Court appointed
13   counsel for the petitioner, Raul Gonzales. See Order entered November 17, 2021 (ECF
14   No. 7). Gonzales’s appointed counsel—the Federal Public Defender for the District of
15   Nevada—appeared on November 18, 2021 (ECF No. 13). On that same date, along
16   with the notice of appearance, Gonzales’ counsel also filed a motion for leave to file a
17   first amended petition, with the proposed first amended petition attached, and a motion
18   for a scheduling order, requesting issuance of a scheduling order with a provision
19   allowing the filing of a second amended petition (ECF Nos. 14, 15). The Court granted
20   those motions on November 19, 2021 (ECF No. 16). On November 23, 2021, counsel
21   for the respondents appeared (ECF No. 19). The Court now issues this scheduling
22   order for this action.
23          IT IS THEREFORE ORDERED that the following schedule will govern further
24   proceedings in this case:
25          Second Amended Petition. Petitioner will have 90 days from the date of this order
26   to file a second amended petition for writ of habeas corpus. The second amended
27   petition must specifically state whether each ground for relief has been exhausted in
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1    state court; for each claim that has been exhausted in state court, the second amended

2    petition must state how, when, and where that occurred.

3           Response to Petition. Respondents will have 60 days following filing of the

4    second amended petition to file an answer or other response to the second amended

5    petition.

6           Reply. Petitioner will have 45 days following filing of an answer to file a reply.

7    Respondents will thereafter have 30 days following filing of a reply to file a response to

8    the reply.

9           Briefing of Motion to Dismiss. If Respondents file a motion to dismiss, Petitioner

10   will have 60 days following filing of the motion to file a response to the motion.

11   Respondents will thereafter have 30 days following filing of the response to file a reply.

12          Discovery. If Petitioner wishes to move for leave to conduct discovery, Petitioner

13   must file such motion concurrently with, but separate from, the response to

14   Respondents’ motion to dismiss or the reply to Respondents’ answer. Any motion for

15   leave to conduct discovery filed by Petitioner before that time may be considered

16   premature, and may be denied, without prejudice, on that basis. Respondents must file

17   a response to any such motion concurrently with, but separate from, their reply in

18   support of their motion to dismiss or their response to Petitioner’s reply. Thereafter,

19   Petitioner will have 20 days to file a reply in support of the motion for leave to conduct

20   discovery.

21          Evidentiary Hearing. If Petitioner wishes to request an evidentiary hearing,

22   Petitioner must file a motion for an evidentiary hearing concurrently with, but separate

23   from, the response to Respondents’ motion to dismiss or the reply to Respondents’

24   answer. Any motion for an evidentiary hearing filed by Petitioner before that time may

25   be considered premature, and may be denied, without prejudice, on that basis. The

26   motion for an evidentiary hearing must specifically address why an evidentiary hearing

27   is required and must meet the requirements of 28 U.S.C. § 2254(e). The motion must

28   state whether an evidentiary hearing was held in state court, and, if so, state where the
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1    transcript is located in the record. If Petitioner files a motion for an evidentiary hearing,

2    Respondents must file a response to that motion concurrently with, but separate from,

3    their reply in support of their motion to dismiss or their response to Petitioner’s reply.

4    Thereafter, Petitioner will have 20 days to file a reply in support of the motion for an

5    evidentiary hearing.

6
            DATED THIS ___                November
                        29 day of ______________________, 2021.
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9                                               GLORIA M. NAVARRO
                                                UNITED STATES DISTRICT JUDGE
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